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FoR THE WESTERN DISTRICT 0F TENNESSEEO:)~ …,
WESTERN DIvIsIoN ` ‘“ `5 iii H = 52

UNITED STATES OF AMERICA,

 

Plaintiff,

v. No. 02-20151~B

MICHELLE WILLIAMS,

Defendant.

 

ORDER DENYING MOTION TO AMEND JUDGMENT

 

Before the court is the January 3, 2005 , motion of the Defendant, Michelle Williams, to
amend the judgment or in the alternative to place judgment under seal. Ms. Williams was
convicted of aiding and abetting in identity theft and sentenced by former District Judge Julia
Smith Gibbons on December 17, 2002. In the Judgment, Judge Gibbons included as one of her
conditions of supervised release that there be third-party risk notification by the probation office
as to any employers concerning her criminal history and the conviction in this Court. The
Defendant sought to have that part of the Judgment removed or in the alternative to place the
judgment under seal. In essence, the Defendant Was seeking to prevent the information about
her conviction being disclosed to her employer for risk of her losing her job.

On May 4, 2005, the Court conducted a hearing on Defendant’s motion and following
arguments of counsel as Well as consideration of the basis for the Defendant’s motion, the Court
determined that the motion to amend the judgment was untimely and found no other reason for

the judgment to be placed under seal. Consequently, the Defendant’s motion is DENIED.

Th\s doci,ment entered on the docket sheet in“compliance
with Ru|e 55 and/or 321bl FRCrP on

227

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IT rs so 0RDERED this fe day of May, 2005.

/

. DANIEL BREEN \
NIT sTATEs DISTRICT JUDGE

   

UNITED `sETATs DISTRIC COURT - W"'ERNT D's'CTRT 0 TESSEE

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Honorable J. Breen
US DISTRICT COURT

